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                   Exhibit "B"
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                                              IN TFIE CIRCUIT COI]RT OF THE
                                              NINTH JTIDICIAL CIRCUIT IN AND
                                              FOR ORANGE COUNTY, FLORIDA

                                             CASE NUMBER : 2023 -CA-01 441 0-O

                                   BUSINESS COURT
                                   DIVISION: 43 - (Orange County)
                                             23 - (Osceola County)
          ORLANDO MT]SEUM OF ART INC
             Plaintiff(s),
         vs.

         AARON DE GROFT; PIERCE ODONNELL; JOHN LE,O MANGAN, III;
         WILLIAM MICHAEL FORCE; TARYN BURNS; BASQT]IAT VENICE
         COLLECTION GROUP; MJL FAMILY TRUST LLC; RICHARD LIPUMA
               Defendant(s).


                                CASE MANAGEMENT ORDER

               This cause came before the Court on January 02. 2024 for a Case

         Management Conference pursuant to the Court's notice and order. This case has

         been assigned to Division 43 I 23, Business Court pursuant to Amended

         Administrative Order No.: 2019-08-02 in the Ninth Judicial Circuit, Orange I

         Osceola County, Florida. After conferring with Counsel and the Parties, reviewing

         the Case Management Report, and being otherwise fully informed in the premises,

         it is ORDERED that unless later modified by Order of this Court, this schedule of

         events shall control the management and proceedings in this case:

           COMMUNICATION WITH THE COURT AND AMONG THE PARTIES
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         l. The parties are represented by the following, which shall be designated
  Lead Trial Counsel:

                a. E. Ginnette Childs. Esquire;             Sara A. Brubaker. Esquire.

  representing Plaintiff.

                b. John R. Samaan. Esquire. representing Defendant(s).

                c                                                    B       willi
  pro se Defendants.

                    PRELIMINARY FIND INGS & DBADLINES

         2. Any motions for leave to amend the pleadings to add additional parties or
   otherwise, shall be filed no later than June 3,2024.

         3. The parties are directed to comply in all respects with the Business
   Court Procedures and Divisional Guidelines located at
   https ://www.ninthcircuit. org/about/divisions/business-court.

                                        ALTERI\ATIVE I)
                              RESOLUTION AND TRIAL

         4. The trial of this case shall occur during the trial period beginning
   October 13,2025. The parties estimate the trial will be completed in 15 days.

   (JURY)

         5. A pre-trial conference is scheduled on September 30, 2025 at 9:30 am

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   in Orange County Courthouse, Court Room 9A, 425 N Orange Ave., Orlando, FL

   32801. The parties shall prepare in advance and provide at least fourteen (14) days

   prior to the pre-trial conference a pre-trial statement comporting with BCP 9.2.

   Non-Complying parties are subject to sanctions, including striking pleadings,

   witnesses and exhibits. Parties shall complete Pre-Trial Conference Checklist

   and email to the Judicial Assistant (43oranee@ninthci                       in addition

   to a courtesy copy of the previously filed Pre-Trial Statement (see above) no

   Iater than 5 (five) business days prior to the Pre-Trial Conference.

         6. All Parties to serve no later than April 0l , 2025, final list of all trial

   witness(es) likely to be called, including name, address, email and phone number.

   Party shall speciff the subject matter about which the witness has knowledge.

   Records Custodians should be listed where parties do not stipulate to admissibility

   of records without testimony of a Records Custodian. Expert witness(es)
   designation see below

         7. The parties shall have until May 01.2025 to conduct and conclude fact
   discovery. It is further ordered that the setting of the discovery deadline will not

   limit any party from filing summary judgment motions during the period, but any

   such motions should be narrowly drawn to address only issues on which discovery

   has been completed.

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         8. The Parties are limited to two (2) expert witnesses per side. In all other
   respects, the presumptive limitations on discovery contained in the Business Court

   Procedures shall apply

         9. The Party bearing the burden of proof on any claim shall designate the
   expert expected to be called at trial and provide all information specified in BCP

   7.6byFebruary 21"2025. With this disclosure, the Party shall provide three (3)

   dates on which the expert is available for deposition within thirty (30) days. The

   Party responding to any claim shall designate the expert expected to be called at

   trial and provide all information specified in BCP 7 .6 by Aprrl04.2025. With this

   disclosure, the Party shall provide three (3) dates on which the expert is available

   for deposition within thirty (30) days.

         10. The parties do not waive hearing on Motion(s) for Summary Judgment.

   Motion(s) must be heard no later than seven (7) days before Pre-trial Conference

         I   1. Dispositive and Daubert Motions shall be filed by
   May 30.2025 and heard no later than seven (7) days before the pre-trial conference

   if oral argument is granted. No Order required for setting Summary Judgment
   hearings

          12. Motions in Limine shall be filed by June 13.2025 and heard no later

   than sevefl (7) days before the pre-trial conference if oral argument is granted

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         13. The parties are ordered to advise the Court, in writing, by April 4,2025

   of the date and time of the mediation and the identity of the mediator. The Parties

   shall conduct mediation by May l. 2025. The Plaintiffs counsel is ordered to

   advise the Court, in writing, of the outcome of the mediation no later than five (5)

   days following the conclusion of the mediation conference.

         DONE AND ORDERED in Orlando, Orange County, Florida tni,A

   day ofJanuary 2024.



                                                   J                 , Circuit Judge



                              CERTIFICATE OF SERVICE
         I HERFPY CERTIFY that the foregoing was filed with the Clerk of the
                  I
   Court this ___lSday of January 2024 by using the Florida Courts E-Filing Portal
   System. Accordingly, a copy of the foregoing is being served on this day to all
   attorney(s)/interested parties identified on the ePortal Electronic Service List, via
   transmission of Notices of Electronic Filing generated by the ePortal System.
   Cathy Stephens, Judicial Assistant to Judge John E Jordan

         If you are a person with a disability who needs any accommodation in
   order to participate in this proceeding, you are entitled, at no cost to you, to
   the provision of certain assistance. Please contact the ADA
   Coordinator, Human Resources, Orange County Courthouse, 425 N. Orange
   Avenue, Suite 510, Orlando, Florida, (407) 836-2303, at least 7 days before
   your scheduled court appearance, or immediately upon receiving this
   notification if the time before the scheduled appearance is less than 7 days; if
   you are hearing or voice impaired, callTll.

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